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     Attorney for Defendant
5    Nicholas Ramirez

6                    IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. 2:11-cr-00190-MCE
                                       )
10              Plaintiff,             )   STIPULATION AND ORDER
                                       )   CONTINUING STATUS AND EXCLUDING
11        vs.                          )   TIME
                                       )
12   NICHOLAS RAMIREZ,                 )   Date:      March 29, 2012
     TIFFANY BROWN                     )   Court:     MCE
13                                     )
                Defendant              )
14                                     )   ORDER

15        IT IS HEREBY STIPULATED by and between Assistant United
16   States Attorney Jason Hitt, Counsel for Plaintiff, and Attorney
17
     Dina L. Santos, Counsel for Defendant Tiffany Brown; Attorney
18
     Michael Bigelow, Counsel for Nicholas, that the status
19
     conference scheduled for January 26, 2012 at 9:00 AM, be vacated
20
     and the matter be continued to this Court's criminal calendar on
21
     March 29, 2012, at 9:00 a.m. for further status.
22
          This continuance is requested by the defense in order to
23
     permit counsel to continue in negotiations with the prosecution
24
     in an effort to reach resolution and to prepare for defense of
25
     this case.


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1                                   IT IS FURTHER STIPULATED that time for trial under the
2    Speedy Trial Act, 18 U.S.C. § 3161, et. seq. be tolled pursuant
3
     to § 3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare),
4
     and that the ends of justice served in granting the continuance
5
     and allowing the defendant further time to prepare outweigh the
6
     best interests of the public and the defendant in a speedy
7
     trial. The Court is advised that all counsel have conferred
8
     about this request, that they have agreed to the March 29, 2012
9
     date, and that all counsel have authorized Mr. Bigelow to sign
10
     this stipulation on their behalf.
11

12
                                    IT IS SO STIPULATED.

13   /S/ JASON HITT
     Jason Hitt, Esq.,                                                      Dated: January 22, 2012
14   Assistant United States Attorney
     Attorney for Plaintiff
15
     /S/MICHAEL B. BIGELOW                                                  Dated: January 22, 2012
16   Michael B. Bigelow
     Attorney for Defendant
17   Nicholas Ramirez
18
     /S/DINA SANTOS                                                         Dated: January 22, 2012
     Dina Santos
19
     Attorney for Defendant
20   Tiffany Brown

21                                  IT IS SO ORDERED.

22   Dated:                            January 24, 2012

23                                                           __________________________________
                                                             MORRISON C. ENGLAND, JR
24                                                           UNITED STATES DISTRICT JUDGE
     DE AC _S ig na tu re -E ND :




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